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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


LOREN OWENS,
       Plaintiff,                          Case No. 1:24-CV-00547
                                           Hon. Jane M. Beckering
v


DOES 1-133,

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      MOTION TO SUBMIT PROPOSED ORDER PURSUANT TO THE COURT'S
                    SEPTEMBER 25, 2024 DIRECTIVE




       Plaintiff Loren J. Owens (“Plaintiff”), by and through counsel, respectfully submits this

motion to the Court regarding the submission of a proposed order in compliance with the Court's

directive issued on September 25, 2024.

Procedural Background

Plaintiff’s Request for Subpoena:

       On September 3, 2024, Plaintiff filed a motion for leave to issue a subpoena to ascertain

the names, addresses, and email addresses of the unknown Doe Defendants. (ECF No. 26).

Response by Named Defendants:

       On September 4, 2024, Magistrate Judge Phillip Green ordered the named Defendants to

file a response no later than September 11, 2024. (ECF No. 27). The named Defendants complied

and submitted a joint response on the specified date. (ECF No. 35).

Motion Hearing:

       The Court scheduled and held an in-person hearing on September 25, 2024, at 10:30 AM.

During the hearing, Plaintiff's counsel objected to the standing of the named Defendants to
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challenge a third-party subpoena directed at the Doe Defendants. The Court, however, indicated it

was entitled to hear input from the named Defendants.

Court’s Ruling:

       At the conclusion of the hearing, the Court verbally granted Plaintiff’s motion in part,

allowing the issuance of one subpoena. The Court further instructed Plaintiff’s counsel to draft an

order consistent with the principles outlined in Strike 3 Holdings, LLC v. Doe, Subscriber IP

98.49.46.71, 2021 WL 4437911. The Court also directed Plaintiff's counsel to collaborate with

opposing counsel to ensure the proposed order is narrowly tailored and to address any objections.

Order Drafting and Submission Timeline:

       Following the hearing, the Court ordered Plaintiff’s counsel to submit the proposed order

within five (5) days. (ECF No. 44).

Plaintiff’s Counsel’s Efforts to Comply

Communication with Opposing Counsel:

       On September 26, 2024, at 4:24 AM EST, Plaintiff’s counsel circulated a draft of the

proposed order, the subpoena, and its attachments to all opposing counsel via email. The email

explained that, per the Court's directive, Plaintiff's counsel was seeking collaboration and input

from Defendants' counsel. Plaintiff's counsel also clarified that a billing statement was not included

in the proposed order because Sinch’s subpoena policy, available online, provided sufficient

guidance regarding their charges. Plaintiff’s counsel requested opposing counsel’s edits by the

close of business on the same day.
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Response from Opposing Counsel:

       On the same day, at 10:46 AM EST, Plaintiff’s counsel received a response from Defendant

Long and Chuna’s attorney, Ms. Jante Ramsey, Esq., stating that their team was reviewing the

documents but would not be able to provide a redline version on that day due to scheduling

conflicts. Ms. Ramsey assured Plaintiff’s counsel that a response would be provided before the

Court's deadline.

No Further Communication Received:

       Despite Ms. Ramsey’s assurance, as of September 30, 2024, at 11:00 PM EST, Plaintiff’s

counsel has not received any further communication or a redlined version of the proposed order.

Plaintiff’s Efforts to Resolve the Matter in Good Faith

Good Faith Efforts to Collaborate:

       Plaintiff’s counsel has made diligent and good faith efforts to facilitate timely collaboration

by sending the proposed order and subpoena immediately upon drafting, thus allowing ample time

for review and input. Despite these efforts, no substantive feedback has been received from

opposing counsel, and Plaintiff’s counsel remains unaware of any opposition or proposed

revisions.

Plaintiff’s Compliance with the Court’s Order:

       In compliance with the Court’s instruction to work cooperatively with opposing counsel to

narrow the subpoena and ensure its appropriateness, Plaintiff’s counsel has attempt to engage with

opposing counsel. As no further response has been received, Plaintiff submits the proposed order
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and subpoena to the Court for its consideration, while reserving the right to amend the proposed

order if opposing counsel provides feedback.

Request for Court Action

Submission of Proposed Order and Subpoena:

       Plaintiff respectfully submits the proposed order and subpoena and attachments, attached

hereto as Exhibit A, B, & C, for the Court’s review and approval, in accordance with the Court’s

verbal ruling and the framework established by Strike 3 Holdings.

Resolution of the Matter:

       In light of opposing counsel’s failure to provide timely feedback, Plaintiff requests that the

Court approve the submitted proposed order and subpoena, or in the alternative, schedule further

proceedings to address any remaining concerns.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

       1. Approve the proposed order and subpoena as submitted, or

       2. Provide any additional instructions or schedule a status conference to resolve any

           remaining disputes between the parties regarding the proposed order and subpoena.


Dated: September 30, 2024                      Respectfully submitted,
                                               By: /s/ Joshua S. Goodrich, J.D., LL.M.
                                               Lighthouse Litigation PLLC
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                                               Attorneys for Plaintiff, Loren J. Owens
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                                 CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 30th day of September 2024, a copy of the foregoing
PLAINTIFF’S MOTION TO SUBMIT PROPOSED ORDER PURSUANT TO THE COURT'S
SEPTEMBER 25, 2024 DIRECTIVE was filed with the Clerk of the Court using the CM/ECF
system, which will send notification of such filing to all attorneys of record.

                                      By:   /s/ Joshua S. Goodrich, J.D., LL.M.______
                                            JOSHUA S. GOODRICH, J.D., LL.M.
